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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI

OSCAR STILLEY PLAINTIFF

V. 3:19-CV-6 HTW-LRA

 

WARDEN CHRISTOPHER RIVERS
(ACTUALLY STEVEN REISER) ETAL DEFENDANTS

 

 

PLAINTIFF OSCAR STILLEY’S BRIEF IN SUPPPORT OF VERIFIED SECOND MOTION
FOR EXTENSION OF TIME TO FILE OBJECTIONS TO REPORT AND
RECOMMENDATION FOR DISMISSAL OF COMPLAINT; {DOCKET 37] ALTERNATELY
FOR OTHER APPROPRIATE RELIEF
Comes now Plaintiff Oscar Stilley (Plaintiff) and for his brief in support of verified motion

states:

Plaintiff left federal prison 9-2-2020. This Court entered a docket text order 9-11-20
stating that objections had to be filed by 9-18-20. This order stated that the response was
originally due 9-4-20. Plaintiff doubts that this is an accurate statement, because he was not
accorded any additional time for receipt by mail. He might be wrong, but he can't speak with
authority, because this brief is written hastily, without any legal research capabilities at all.

That might seem unreasonable, until you consider that this motion is taking time
desperately needed for care for an eye that got a serious disease over 2 months ago.

Plaintiff hasn't received this order and would not know about it, but for a call to the
clerk's office 9-16-20. That left Plaintiff with a single day to draft the objections, (or other
suitable pleading such as this motion to extend time) print them, get them to an overnight
delivery service, prepare the envelope, and send them at a cost of about $20 or $30. That comes
in addition to the requirement that Plaintiff take a day per week out of his schedule to go to Little

Rock, apparently mainly for a drug test. It is no wonder that the DOJ-FBOP is a failure

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machine. Everything they do is set up for failure.

That's a pretty tall order for someone fresh out of prison, working for $10 per hour on a
new job, trying to learn the ropes with respect to the technological changes of the past 10 years.

Plaintiff doesn't have the docket items. Those are in his property, and he does not yet
have his property. Theoretically he might get more off PACER — but he's cut off at the pass for
that too. Time's up, deadlines must be respected. There simply is not time to do more. The
printing has to be done, and the motion must be sent.

Defendants submitted a statement under penalty of perjury knowing it to be false.
Having been told that it is materially and indisputably false, they choose to hold steadfast in their
lies. Lisa Singleton is an unmitigated liar, making claims altogether in irreconcilable conflict
with those made previously by other officials of the DOJ-FBOP. Wish I could be more specific
and precise, and cite precisely to court papers proving these falsehoods.

Plainly the Magistrate thinks that the burden is on the Plaintiff to prove the exhaustion of
administrative remedies. At page 4 of the R & R she says “[t]he burden of proof is on the party
asserting jurisdiction...” That's simply error, but Plaintiff can't cite a case for it. As these words
are typed, it is 2:15 PM on the 17", and Plaintiff doesn't know what obstructions he might face in
getting his package to the Post Office on time.

To the extent that it is not this Court's job to research the law, it is the Court's duty to
allow adequate time to a person in DOJ-FBOP custody, sufficient to meet the requirements of
due process. The fundamental essence of due process is the right to be heard in a meaningful
time and a meaningful manner. That can't be done when the litigant is denied access to the
RECORD and to any sort of usable legal research tool.

On page 6 it becomes clear that the Magistrate thinks that Plaintiff's tort claims must be

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associated with FCC Yazoo City. This is fundamentally at odds with the venue statues governing
FTCA Tort Claims, but Plaintiff can't show that without time and access to court rules and
decisions. Furthermore, Mr. Robles knows nothing about the actual request for reconsideration,
DONE ON DOJ-FBOP COMPUTERS, and thus available through any honest discovery process,
which would prove that Plaintiff did in fact ask for the reconsideration necessary to extend the
time for his tort claim.

The Magistrate complains about allegedly “conclusory allegations” of retaliation. Under
the caselaw, the facts alleged give Plaintiff the right to do discovery. The allegations aren't truly
conclusory. They give sufficient specific facts which, if true, would prove retaliation for the
exercise of constitutionally protected 1* Amendment peaceful petition, amongst other things.

On page 8 the Magistrate repeats the legal error that Plaintiff must prove exhaustion. An
error of law necessarily constitutes an abuse of discretion. The process of reports and
recommendations, with time for well researched and well written objections, tend to reduce the
amount of embarrassing abuses of discretion that the appellate courts must correct.

The Magistrate has not explained how an experienced attorney, practicing in many
disparate jurisdictions with scarcely any procedural defaults, could be held to “0 of 20” by the
DOJ-FBOP. In truth this claim is a pure unadulterated fraud, on par with the claim that Kim
Jong Un is the world's greatest golfer.

Nobody explains how a record of approximately 30 claims and 1 exhaustion has now
come to 0 out of 20. This of course proves that the allegations are altogether untrustworthy.
Plaintiff believes that reliance on statements that are NECESSARILY false also deprives due
process and constitutes an abuse of discretion. It would be very nice to be able to cite a case for

this proposition.
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On page 9 the Magistrate states, correctly, that failure to exhaust is an affirmative
defense. At the same time the Magistrate proposes converting the motion to summary judgment,
probably because it is impossible to recommend dismissal without so doing. However, this
leaves Plaintiff with NO evidence and no opportunity to get it. Plaintiff believes this to be both a
deprivation of due process and an abuse of discretion.

Much effort is expended to say that available remedies must be exhausted. Plaintiff
hasn't claimed “special circumstances” or any of the other bunny trails involved. Plaintiff has in
fact exhausted all administrative remedies available to him, within the meaning of the law.

Ms. Singleton is not a competent witness as to any of the facts alleged starting at page 14
of the R & R. Most of these claims were a pure unadulterated fraud, utterly false. The
discrepancy between the totals in this litigation and other litigation is not explained. The
Defendants seem altogether unconcerned about the fact that DOJ-FBOP records are pure rubbish,
utterly unworthy of belief. The Defendants of course don't want anyone asking hard questions
about their theft of mail matter (a felony) and plain and obvious retaliation immediately
thereafter. The Defendants of course don't want anyone asking hard questions about their scams,
in which they attempt to pin the destruction or spoliation of mail matter on the post office — when
most certainly the US Post Office had nothing to do with it.

At page 15 we have mention of 20 administrative remedies, in contrast to the 23
administrative remedies alleged on the previous page. So which is it? Plaintiff can't say because
he can't even look at the record.

On page 16 the magistrate summarily concludes that the Defendants have met their
burden of proving that Plaintiff has failed to exhaust his administrative remedies. However, she

points to no evidence, and gives no explanation why Plaintiff shouldn't have discovery to present

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his side of the story. She points to no evidence to show that the DOJ-FBOP remedies were
“available” to Plaintiff in the matters presented in the complaint in this case.

On page 17 the Magistrate observes that some inmates navigate the DOJ-FBOP
administrative remedy process. This is true — but it is also true that such things are necessary to
create the pretense that administrative remedies are generally available to inmates. None of this
constitutes any proof through which the burden should be shifted to Plaintiff.

The Magistrate states on the same page that Plaintiff “...has not set forth evidence
showing that the BOP procedure was unavailable to him.” If this is true, why can't Plaintiff have
a chance to cite to his own record? Furthermore and perhaps more importantly, what legal
principle authorizes cutting the Plaintiff clean off from any chance to secure evidence in
discovery, sufficient to defeat this summary judgment? What kind of procedure opens evidence
to one side but not the other?

Please don't forget to look at these indisputably false records with 1) an eye toward the
rules of evidence, as to what is acceptable on summary judgment, and 2) an eye toward the
actual statements of fact. Nobody is taking responsibility for these records. Nobody even
alleges under oath or affirmation that they are true, correct, and complete. Clearly they aren't.

At page 19, the Magistrate claims that Plaintiff hasn't provided “factual basis” for his
allegations. Why then no discovery, to allow Plaintiff to prove his claims? If his evidence is
“conclusory” why then can he not get summary judgment evidence that is clearly acceptable
under Rule 56?

Once again, the Magistrate addresses “...the administrative remedy program at Yazoo
FCC.” Yet most of the claims were raised and litigated at previous institutions. Once again the

Magistrate seems to think that a punitive transfer simply erases all claims related to any prior

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institution. This is not the law.

Once again the Magistrate lavishes effuse praise on the Defendants’ “evidence” without
saying what that evidence is, or why it matters. While we're talking about “conclusory”
statements, we ought to give fair scrutiny to these conclusions that the government's “evidence”
is so wonderful and sufficient.

Page 20 says that the Plaintiff has 14 days after being served, to file his objections.
Perhaps it is a small point, but it is important to the Plaintiff. Plaintiff had the right to rely on
these representations. At the present time, Plaintiff respectfully submits that 60 days is perfectly
reasonable, and should be granted. Plaintiff will proceed with all deliberate speed, regardless of
the time authorized.

Please remember that Plaintiff still doesn't have his record, and does not know when he
will get it. He has no legal research tool, and doesn't know when he will get it. Plaintiff is ill
inclined to presume the bad faith of DOJ-FBOP authorities, without good and sufficient reason.
Plaintiff believes that he will get his papers in due time. Plaintiff remains in DOJ-FBOP custody,
and is entitled to receive his property and use it for all lawful purposes.

Plaintiff is sorry to send this motion and brief so poorly edited, but cannot do better.

Plaintiff vehemently objects to being relegated to “construed” objections in these
pleadings, but includes this request as a prophylactic matter, hoping to avoid prejudice the best
that he can. Plaintiff respectfully requests a chance to do work of reasonable quality.

For all the reasons stated, Plaintiff respectfully requests the extension requested at the end

of the motion, alternatively or cumulatively for other relief according to the prayer in the motion.
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By: ( & ) September 17, 2020

Oscar Stilley Date
101 Martin Street

Fort Smith, AR 72908

oscarstilley@gmail.com

479.274.9291 (Martha Durossette, message line)

    

CERTIFICATE OF SERVICE
Plaintiff by his signature above pursuant to 28 USC 1746 certifies that he caused the Defendants
to be served by placing a copy of this pleading in USPS OVERNIGHT, with sufficient postage

prepaid, addressed to the clerk of the court for filing and service via CM/ECF..
